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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


S.C., by her parent and next friend KARRIE
CONLEY; K.C., by her parent and next friend
KARRIE CONLEY; and R.H., by his parent
and next friend MICHELE HUDAK, on behalf
of themselves and all others similarly
situated,

             Plaintiffs,                      Case No. 1:25-cv-10007

      v.

LUCY CALKINS; IRENE FOUNTAS; GAY
SU PINNELL; RWPN, LLC, d/b/a THE
READING & WRITING PROJECT AT
MOSSFLOWER, LLC; BOARD OF
TRUSTEES OF TEACHERS COLLEGE,
COLUMBIA UNIVERSITY; FOUNTAS
AND PINNELL, LLC; GREENWOOD
PUBLISHING GROUP, LLC, d/b/a
HEINEMANN PUBLISHING; and HMH
EDUCATION CO.,

             Defendants.


DEFENDANTS LUCY CALKINS; IRENE FOUNTAS; GAY SU PINNELL; RWPN, LLC,
 d/b/a THE READING & WRITING PROJECT AT MOSSFLOWER, LLC; FOUNTAS
       AND PINNELL, LLC; GREENWOOD PUBLISHING GROUP, LLC, d/b/a
         HEINEMANN PUBLISHING; and HMH EDUCATION COMPANY’S
  MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS FOR
FAILURE TO STATE A CLAIM AND, IN THE ALTERNATIVE, MOTION TO STRIKE
                          CLASS ALLEGATIONS
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                                        INTRODUCTION

       Plaintiffs ask this Court to make judgments about early literacy education that

Massachusetts law entrusts exclusively to its schools and educators. Their claims combine

nonviable theories of injury and causation with unsubstantiated factual allegations that fail to meet

basic pleading requirements. This Court should dismiss the Complaint because it does not, and

cannot, state a claim for relief under any legal theory or standard.

       This Court is not an appropriate forum to decide how best to teach reading, or which

curricula Massachusetts teachers must use in their classrooms. That power is vested in the

Commonwealth’s executive and legislative branches, which in turn have delegated it to local

school officials. Nevertheless, Plaintiffs ask this Court to wade into a decades-long academic

debate, step into the shoes of those educators, and decide for itself what role phonics should play

in teaching children how to read. More than this, Plaintiffs seek a ruling that a phonics-dominant

approach to teaching reading is objectively and definitively better for all Massachusetts students

than the alternatives, and that teachers, professors, curriculum writers, researchers, and publishers

whose ideas or approaches are different than Plaintiffs’ should be held liable for multiple damages

under consumer protection statutes and common law. That is not what Chapter 93A is for; it is not

what the law of negligence is for; and it is not what courts are for.

       The troubling nature of Plaintiffs’ request is compounded by their failure to meet

elementary pleading requirements. In particular, Plaintiffs fail (i) to allege the “who, what, where,

and when” of the alleged fraud described in the Complaint, as required by Rule 9(b), and (ii) to

explain how each named defendant individually engaged in the alleged fraud or contributed to the

alleged harm. Instead, Plaintiffs rely on conclusory, sensational language and engage in improper




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shotgun pleading against all Defendants. 1 Plaintiffs’ accusations are perhaps fit for a press release

or Op-Ed article, but they fall far short of federal pleading requirements.

       The non-justiciability of Plaintiffs’ claims and the basic pleading defects of the Complaint

are reason enough to dismiss. Even were they not, Plaintiffs’ claims fail for the following

additional reasons.

       First, Plaintiffs fail to state a claim under Chapter 93A because they do not proffer well-

pleaded facts to support the existence of the required commercial relationship with Defendants;

Defendants’ alleged conduct is neither unfair nor deceptive; and Plaintiffs cannot show that the

literacy materials at issue caused their alleged injury.

       Second, Plaintiffs fail to state a claim for negligence (under either a negligent

misrepresentation or a general negligence theory) because Plaintiffs did not rely on any alleged

statements by Defendants; their claims are barred by the economic loss doctrine; and they have

not sufficiently pled that Defendants’ conduct caused them injury.

       Third, though they label them as Chapter 93A and negligence claims, Plaintiffs are

fundamentally asking the Court to extend product liability theories to the marketplace of ideas, an

effort that courts routinely and consistently reject.

       Fourth, even if this Court does not dismiss Plaintiffs’ claims in their entirety, it should

dismiss or strike their overbroad class allegations because the putative class definition includes

large numbers of individuals who did not struggle with learning to read; determining whether those

who did struggle with learning to read did so because of Defendants’ literacy materials requires




1
  Lucy Calkins (“Calkins”); Irene Fountas (“Fountas”); Gay Su Pinnell (“Pinnell”); RWPN, LLC,
d/b/a The Reading & Writing Project at Mossflower, LLC (“Mossflower”); Fountas and Pinnell,
LLC (“F&P LLC”); Greenwood Publishing Group, LLC, d/b/a Heinemann Publishing
(“Heinemann”); and HMH Education Company (“HMH”).


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individualized inquiries; the negligence claim requires an individualized assessment of each class

member’s reliance on the allegedly deceptive statements; and the Chapter 93A claim requires an

individualized assessment of causation and whether each class member suffered a distinct Chapter

93A injury.

       Finally, though Defendants have collaborated to present a single consolidated motion to

dismiss, certain defendants have individualized bases that warrant dismissal of Plaintiffs’ claims

as to them specifically. HMH should be dismissed from this suit because the Complaint contains

no allegations that HMH, as opposed to its subsidiary Heinemann, created, marketed, or sold any

of the reading materials or curricula identified in the Complaint or made any of the alleged

misstatements. F&P, LLC and Mossflower should be dismissed from this suit because Plaintiffs

do not allege material facts attributable to F&P, LLC and Mossflower, including not asserting that

F&P, LLC and Mossflower created, marketed, or sold any of the purportedly objectionable literacy

materials, or that they made alleged misrepresentations related to such materials.

       For these reasons, as described more fully below, the Complaint should be dismissed with

prejudice.

                                        BACKGROUND

       A.      Plaintiffs’ Allegations And Requested Relief

       Plaintiffs accuse Defendants—professors and publishers who have devoted significant

portions of their professional careers to thinking, researching, writing, and teaching about early

literacy education—of ignoring and downplaying the importance of phonics in their literacy

curricula and related materials (“Literacy Materials”), and making statements about the Literacy

Materials that were allegedly inaccurate or misleading. See e.g., Doc. 1-1, Ex. A (“Compl.”) ¶¶ 30,




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34, 40, 41, 43, 47, 52, 53. 2 More specifically, Plaintiffs claim that because the Literacy Materials

allegedly fail to sufficiently emphasize phonics, they are defective, fail to teach children how to

read, and have been rejected by the academic community in favor of an approach that relies on

phonics as the dominant means of reading instruction. See, e.g., Compl. ¶¶ 25, 27‒29, 39, 42–45,

47, 50 & p. 23.

       Plaintiffs attended schools that used one or more of the Literacy Materials and struggled

with learning to read allegedly because of the defective nature of the reading instruction. See

Compl. ¶¶ 65‒67. Yet, as the materials cited in the Complaint acknowledge, “[m]any factors

influence a student’s reading skills—from preschool preparation to whether their basic needs are

met.” Ex. A (Boston Globe Oct. 4, 2023 article) at 4. 3 Plaintiffs do not provide any allegations or

details to support the inference that their children’s reading struggles can be attributed to the

Literacy Materials. As a threshold matter, they do not identify what specific Literacy Materials

were actually used to teach them; what other literacy curricula were used by their schools,

including whether any alternative phonics materials were used; what, if any, supplemental or

special education materials may also have been used; whether any of the students had any learning

difficulties; the size of each student’s classrooms; the student-to-teacher ratios for reading

instruction; whether the teachers were trained on, implemented, and/or how they implemented any



2
  In the “Parties” section of the Complaint, Plaintiffs only identify the following four materials:
Units of Study (“UoS”), Fountas & Pinnell Classroom (“F&P Classroom”), Leveled Literacy
Intervention (“LLI”), and the Fountas & Pinnell Benchmark Assessment System (“BAS”). Compl.
¶¶ 8, 10-11, 14. Notably, Plaintiffs do not allege to have ever actually used, encountered, or been
taught literacy through F&P Classroom. See Compl. ¶¶ 65‒67.
3
  The exhibits attached to this memorandum are those cited in the Complaint and therefore
incorporated into the allegations of the Complaint by reference. Clorox Co. P. R. v. Proctor &
Gamble Com. Co., 228 F.3d 24, 32 (1st Cir. 2000) (on motion to dismiss, courts “may properly
consider the relevant entirety of a document integral to or explicitly relied upon in the complaint,
even though not attached to the complaint”).


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of the Literacy Materials or other materials; the frequency of the instruction; the time period during

which Plaintiffs were taught using the Literacy Materials; or anything else about how they were

educated. 4

       As for relief, Plaintiffs seek to recover actual and compensatory damages, punitive and

treble damages, attorneys’ fees and costs, and, alarmingly, a court order requiring Defendants to

provide, free of charge, “an early-literacy curriculum that sufficiently reflects and incorporates”

Plaintiffs’ preferred literacy approach. Compl., p. 23.

       B.       “Reading Wars” And The Literacy Materials

       There has been a decades-long debate concerning the appropriate role of phonics in

teaching reading. Compl. ¶¶ 7, 31–32. Although Plaintiffs cast this debate as settled in favor of

Plaintiffs’ preferred literacy approach (see, e.g., Compl. ¶¶ 25, 27–29), the materials relied on in

the Complaint acknowledge that the discussion over how best to teach reading has been a

“pendulum [that] has swung back and forth between holistic, meaning-centered approaches and

phonics approaches without much hope of resolving disagreements.” Ex. B (excerpted National

Reading Panel: Report of the Subgroups) at 2-1; Compl. ¶¶ 26–27 (describing the National

Reading Panel’s work and report). The National Reading Panel also found that (i) “systematic

phonics” or phonics-dominant instruction (Plaintiffs’ preferred literacy approach) “should be



4
  Plaintiffs have represented that they attended public schools in the Ashland, Sandwich, and
Acton-Boxborough school districts from 2015 through 2022. Students in those school districts
who were eligible to take the Massachusetts Comprehensive Assessment System (“MCAS”)
during those time periods achieved higher than average scores on the MCAS in English and
Language Arts during the relevant time. See Next Generation MCAS Test 2019: Percent of
Students     at    Each     Achievement     Level   for     David    Mindess,     available   at
https://tinyurl.com/mnj55rxz; Next Generation MCAS Test 2021: Percent of Students at Each
Achievement Level for David Mindess, available at https://tinyurl.com/yk8nut2c; Next Generation
MCAS Test 2018: Percent of Students at Each Achievement Level for Blanchard Memorial
School, available at https://tinyurl.com/5yuu3b97. This Court may take judicial notice of MCAS
scores. In re Colonial Mortgage Bankers Corp., 324 F.3d 12, 19 (1st Cir. 2003).

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integrated with other reading instruction in phonemic awareness, fluency, and comprehension

strategies to create a complete reading program,” (ii) phonics is but one component “within a

complete and integrated reading program” because “[s]everal additional competencies must be

acquired as well to ensure that children will learn to read,” (iii) “phonics teaching is a means to an

end” and programs that focus “too much” on phonics and “not enough” on putting phonics to use

are “unlikely to be very effective,” and (iv) because “children are known to vary greatly in the

skills they bring to school … [t]eachers should be able to assess the needs of the individual

students and tailor instruction to meet specific needs.” Ex. C (National Reading Panel Report) at

2, 5, 6, 7. Similarly, the American Institutes of Research (Compl. ¶ 41) compared schools that

used Calkins’ UoS to those who did not, and found that schools using the Calkins’ materials “show

achievement that is not only higher, but statistically significantly higher, relative to schools in the

comparison group.” Ex. D (American Institutes for Research study) at 3. 5

       Furthermore, despite alleging that Defendants completely ignored research supporting a

phonics-dominant approach to teaching reading, the Complaint itself acknowledges that the

Literacy Materials, which were revised over time, include phonics-based instructions. Compl.

¶¶ 30, 37, 53. Importantly, Plaintiffs and the materials on which they rely also acknowledge that

it is local school officials who study, weigh, and ultimately choose which literacy curricula they

believe will best serve students in the Commonwealth, and districts often select products from

multiple authors and publishers to build a full literacy curriculum to educate children. Compl.

¶¶ 48, 51, 69, 77, 86; Ex. E (Boston Globe Feb. 7, 2024 article) at 1‒2; see also Ex. A at 17‒18.


5
  Plaintiffs simply ignore these results and conclude they suffer “from glaring methodological,
theoretical, and other flaws.” Compl. ¶ 41. This Court, however, need not and should not accept
Plaintiffs’ conclusory allegations as true. See O’Neill v. United States, 328 F.Supp. 3d 16, 23 (D.
Mass. 2018) (allegations that are “threadbare, conclusory [or] speculative” or “devoid of any
specific factual allegations” are not “well-pleaded facts”).


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       C.      Shotgun Pleading And Class-Action Allegations

       Defendants include (i) Mses. Calkins, Fountas, and Pinnell, who are professors at

Columbia University, Lesley University, and The Ohio State University, respectively, and their

associated corporate entities; (ii) HMH, a learning technology company that delivers integrated

K–12 learning materials and solutions; and (iii) Heinemann, the publisher of the Literacy Materials

and provider of educational services for teachers from prekindergarten through college, and a

subsidiary of HMH. The Complaint also names as a defendant Teachers College, Columbia

University, the first and largest graduate school of education in the United States. Compl. ¶¶ 7‒

15.

       Rather than distinguishing and making claims against each of these eight defendants

individually, Plaintiffs simply lump them all together. See, e.g., Compl. ¶¶ 7, 30, 71, 76, 84. For

example, Plaintiffs refer to the Literacy Materials as “Defendants’ products” even though the

Literacy Materials were authored by different author defendants, e.g., Ms. Calkins did not author

the materials written by Mses. Fountas and Pinnell, and vice versa. Compl. ¶¶ 16, 37, 59, 61.

Plaintiffs take the same approach when attempting to describe Defendants’ alleged false statements

and wrongful conduct. Compl. ¶¶ 40, 43, 49, 71. By doing so, Plaintiffs fail to plead facts

demonstrating the who, what, where, and when, of Defendants’ allegedly false statements—let

alone specify which person or entity engaged in what allegedly wrongful conduct. Id.

       Plaintiffs’ blunderbuss approach to the eight defendants extends to their class allegations,

which put forth an unworkably broad class definition. Plaintiffs seek to certify a class of:

       [A]ll children and parents and/or legal guardians of children currently or previously
       enrolled in kindergarten, first, second, or third grade in a Massachusetts elementary
       school that purchased, licensed, reproduced, or otherwise employed any . . . [of the
       Literacy Materials], and who reached (or will reach) the age of majority on or after
       December 4, 2020.




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Compl. ¶ 69. Absent from this definition is a requirement that a putative class member actually

be taught to read using the Literacy Materials or that a putative class member even struggled to

learn to read as a result. The inclusion of a large number of non-injured students in Plaintiffs’

overly broad class definition is confirmed by the materials cited in the Complaint, which note that

Massachusetts students “outperform their peers nationally in virtually every measure of academic

achievement.” Ex. A at 2.

                                      LEGAL STANDARD

       A complaint that fails to “state a claim to relief that is plausible on its face” is subject to

dismissal. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). In reviewing a motion to dismiss,

the court must distinguish the complaint’s factual allegations (which, if well-pleaded, must be

accepted as true) from its conclusory legal conclusions (which need not be credited). Garcia-

Catalan v. United States, 734 F.3d 100, 103 (1st Cir. 2013). A plaintiff must provide more than

labels, bald conclusions, or speculation to plead an entitlement to relief. Twombly, 550 U.S. at

555; Buck v. Am. Airlines, Inc., 476 F.3d 29, 33 (1st Cir. 2007). When a plaintiff fails to set forth

“factual allegations, either direct or inferential, respecting each material element necessary to

sustain recovery under some actionable legal theory,” dismissal is required. Bezdek v. Vibram

USA Inc., No. 1:12-cv-10513-DPW, 2013 WL 639145 at, *2 (D. Mass. Feb. 20, 2013) (internal

quotation marks and citation omitted). Where the “well-pleaded facts do not permit the court to

infer more than the mere possibility of misconduct, the complaint has alleged—but it has not

show[n]—that the pleader is entitled to relief” and should be dismissed. Id.

         In addition, where (as here) a claim sounds in fraud, Rule 9(b)’s heightened pleading

standard applies, requiring “plaintiffs to specifically plead ‘the time, place, and content of an

alleged false representation.’” Mulder v. Kohl’s Dep’t Stores, Inc., 865 F.3d 17, 21‒22 (1st Cir.




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2017) (citation omitted); see also Dumont v. Reilly Foods Co., 934 F.3d 35, 38‒39 (1st Cir. 2019)

(“The circumstances to be stated with particularity under Rule 9(b) generally consist of ‘the who,

what, where, and when’ of the allegedly [misleading] representation.”) (citation omitted). 6

General or conclusory allegations of fraud do not suffice. See Hayduk v. Lanna, 775 F.2d 441,

444 (1st Cir. 1985).

                                           ARGUMENT

I.     COURTS DO NOT RESOLVE DISPUTES OVER EDUCATIONAL THEORIES

       Plaintiffs allege that there is a particular educational theory underlying all of the Literacy

Materials that failed to sufficiently incorporate phonics, see, e.g., Compl. ¶¶ 76‒77, 85‒86, and

caused reduced educational achievement, Compl. ¶¶ 79, 86‒87. Claims based on underlying

questions of educational approaches or effectiveness have been nearly universally rejected in every

jurisdiction in which they have been made. See, e.g., In re Suffolk Univ. Covid Refund Litig., 616

F. Supp. 3d 115, 118 (D. Mass. 2022) (rejecting claims that would require the “judiciary to define

the sufficiency or quality of an educational program”); Gambrill v. Bd. of Educ. of Dorchester

Cnty., 481 Md. 274, 310 (2022) (“[C]ourts have declined to recognize a cause of action or claims

regarding the quality of education provided[.]”); Bittle v. Oklahoma City Univ., 2000 OK CIV APP

66, ¶ 14, 6 P.3d 509, 514 (Okla. Civ. Ct. Appeals 2000) (noting that, for suits by students “asserting



6
  As explained below, to the extent all claims are not dismissed, Defendants alternatively move to
strike the class allegations. The standard for striking class allegations is the same as the standard
for a motion to dismiss, namely that Plaintiffs must “plead[] the existence of a group of putative
class members whose claims are susceptible of resolution on a classwide basis.” Manning v. Bos.
Med. Ctr. Corp., 725 F.3d 34, 59 (1st Cir. 2013). “[C]ourts retain ‘considerable discretion’ to
strike material under Rule 12(f), and when ‘it is obvious from the pleadings that the proceeding
cannot possibly move forward on a classwide basis, district courts use their authority under Federal
Rule of Civil Procedure 12(f) to delete the complaint’s class allegations.’” Rovinelli v. Trans
World Ent. Corp., No. 3:19-cv-11304-DPW, 2021 WL 752822, at *6 (D. Mass. Feb. 2, 2021) (first
quoting Alvarado-Morales v. Dig. Equip. Corp., 843 F.2d 613, 618 (1st Cir. 1988), and then
quoting Manning, 725 F.3d at 59).

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inadequate or improper instruction … [t]he courts uniformly reason that such a claim runs afoul

of established public policy”); Gupta v. New Britain Gen. Hosp., 239 Conn. 574, 590 (1996)

(“[T]he court is ... asked to evaluate the course of instruction [and] called upon to review the

soundness of the method of teaching … This is a project that the judiciary is ill equipped to

undertake.”).

       Attempts to re-package claims that fundamentally allege the shortcomings of education

under other labels such as fraud, negligence, or breach of contract have been similarly unavailing.

See e.g., Waugh v. Morgan Stanley & Co., 966 N.E.2d 540, 551 (Ill. App. Ct. 2012) (dismissing

negligence claim and noting that “most jurisdictions that have considered the issue have found that

… claims [requiring an analysis of the quality of education] are not cognizable”) (collecting cases);

Papelino v. Albany Coll. of Pharmacy of Union Univ., 633 F.3d 81, 93 (2d Cir. 2011) (“[A] student

may not seek to avoid this [bar on claims regarding education quality] rule by couching such a

claim as a breach of contract claim.”); Bittle, 6 P.3d at 514 (affirming judgment where “all of

[plaintiff’s] claims for fraud, breach of contract, tortious breach of contract, negligence, and unjust

enrichment commonly” involve educational-quality allegations); Love v. Career Educ. Corp., No.

4:11cv-1585-JAR, 2012 WL 1684572, at *3 (E.D. Mo. May 15, 2012) (“Plaintiff’s tort claims

regarding the ‘sufficiency,’ ‘adequacy’ and ‘quality’ of her education cannot be evaluated by the

Court, even if they are framed as allegations of fraud.”).

       The basic principle that courts should not resolve disputes over education theory is based

on a number of rationales, any one of which is sufficient to warrant dismissal here: (1) overseeing

educational options is a task entrusted to political bodies, not courts; (2) there is no objective

standard of care to resolve these sorts of cases; (3) causation cannot be established for these types




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of claims; (4) a failure of educational achievement does not constitute a legally cognizable injury;

and (5) endorsing one pedagogy over another runs contrary to the First Amendment.

       A.      Plaintiffs Improperly Ask The Court To Step Into the Shoes Of The
               Executive and Legislative Branches

       The Massachusetts Constitution expressly commits the oversight of education to the

elected branches—not the judiciary. See Mass. Const. Pt. II, Ch. V, § 2 (“[I]t shall be the duty of

legislatures and magistrates, 7 in all future periods of this commonwealth, to cherish the interests

of literature and the sciences, and all seminaries of them; especially … public schools and grammar

schools in the towns[.]”). In turn, the Massachusetts General Court (legislature) has tasked school

districts to “establish educational goals and policies for the schools in the district consistent with

the requirements of law and statewide goals and standards established by the board of education.”

Mass. Gen. Laws. ch. 71 § 37; see also id. § 48 (“The principal at each school … shall … purchase

textbooks and other school supplies.”). As a part of these duties, schools decide which curricular

materials to use, including the Literacy Materials, with full access to information regarding the

advantages and disadvantages of different approaches to teaching reading. Compl. ¶ 26.

       Consistent with this constitutional delineation, Massachusetts courts recognize that choices

related to education policy are “fundamentally political,” Doe v. Sec’y of Educ., 479 Mass. 375,

390 (2018), and that “Courts are not well positioned to make such decisions,” Hancock v. Comm’r

of Educ., 443 Mass. 428, 460 (2005) (Marshall, C.J., concurring). Accordingly, Massachusetts

courts routinely find that questions regarding education policy are left “to the Governor and the

Legislature.” Hancock, 443 Mass. at 460 (Cowin & Sosman, JJ., concurring); see Doe, 479 Mass.

at 390 (declining to make “policy choices [about charter schools] that are properly the Legislature’s


7
 In this provision, “magistrates” refers to the executive branch, not the judiciary. See McDuffy v.
Secretary of the Office of Education, 415 Mass. 545, 606 (1993).


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domain”).    Indeed, the courts cannot exercise such legislative and executive powers under

Massachusetts’ constitutional structure. Hancock, 443 Mass. at 466, (Cowin & Sosman, JJ.,

concurring) (in an education-policy case, noting that “the overarching doctrine of the separation

of powers prohibits judicial intervention in otherwise discretionary functions of the executive and

legislative branches”); Mass. Const., Pt. I, Art. 30 (containing the Massachusetts separation of

powers directive); School Committee of Springfield v. Board of Education, 362 Mass. 417, 459

(1972) (citing Article 30 and declining to displace state and local education authorities from their

assigned responsibilities to correct racial imbalance in public schools). 8

       Not only is overseeing education expressly assigned to the non-judicial branches, but as a

functional matter, courts lack the means to schools and make determinations regarding the

fundamental policy questions surrounding differing educational theories, decisions, or approaches.

Ambrose v. New England Ass’n of Schs. & Colleges, Inc., 252 F.3d 488, 499 (1st Cir. 2001) (noting

“the patent undesirability of having courts attempt to assess the efficacy of the operations of

academic institutions”); Missouri v. Jenkins, 515 U.S. 70, 131–32 (1995) (Thomas, J., concurring)

(“State and local school officials not only bear the responsibility for educational decisions, they




8
  Numerous jurisdictions have similarly concluded that claims based on educational quality are not
viable where authority over educational policy is committed to non-judicial bodies. See generally
Donohue v. Copiague Union Free Sch. Dist., 47 N.Y.2d 440, 445 (1979) (“Recognition in the
courts of this cause of action would constitute blatant interference with the responsibility for the
administration of the public school system lodged by Constitution and statute in school
administrative agencies.”); Swidryk v. Saint Michael’s Med. Ctr., 201 N.J. Super. 601, 607 (Law.
Div. 1985) (“The Legislature has vested [various boards] with the authority to insure that a proper
medical education … It would be against public policy for the court to usurp these functions.”);
Hunter v. Bd. of Educ. of Montgomery Cnty., 292 Md. 481, 488 (1982) (“Such matters have been
properly entrusted by the Generally [sic] Assembly to the State Department of Education and the
local school boards who are invested with authority over them.”); Cavaliere v. Duff’s Bus. Inst.,
413 Pa. Super. 357, 364, 605 A.2d 397, 401 (Pa. Super. 1992).


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also are better equipped than a single federal judge to make the day-to-day policy, curricular, and

funding choices.” (emphasis added)).

       These principles warrant dismissal here.        The Complaint itself acknowledges the

fundamentally non-judicial nature of the questions it raises. For example, Plaintiffs allege that

many states have adopted the type of reading programs Plaintiffs prefer through the political

processes. See Compl. ¶ 51 (noting that states have “passed laws or promulgated regulations”

requiring the use of Plaintiffs’ preferred educational methods). 9 At bottom, Plaintiffs ask this

Court to usurp individual schools’ power to make this decision by deciding what the correct

amount of phonics should be in early literacy curricula statewide. Even if Plaintiffs’ allegations

regarding the merits of their preferred, phonics-dominant approach to teaching reading were true,

the relief they seek is not one a court can give. For concerns like a “school’s choice of books,”

Plaintiffs’ recourse is in the “the normal political processes for change in the town and state.”

Parker v. Hurley, 514 F.3d 87, 107 (1st Cir. 2008).

       B.      There Is No Applicable Standard Of Care

       Courts regularly reject the types of education-based claims raised by the Complaint

because of “the lack of a satisfactory standard of care” for resolving them. See Ambrose, 252 F.3d

at 499. “Theories of education are not uniform, and different but acceptable scientific methods of

academic training [make] it unfeasible to formulate a standard by which to judge the conduct of

those delivering the services.” Ross v. Creighton Univ., 957 F.2d 410, 414 (7th Cir. 1992) (internal

quotation marks omitted)); see also Love v. Career Educ. Corp., 2012 WL 1684572, at *3 (E.D.

Mo. May 15, 2012) (“Plaintiff’s claims would require the Court to become entangled in a dispute[]



9
  Massachusetts’ General Court has notably chosen not to pass similar laws, even though bills to
require such methods have been before the legislature. See, e.g., S. 263, 194th Gen. Ct. (Mass.
2023-24).

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‘over the pedagogical methods employed,’ and would ‘involve an inquiry into the nuances of

educational processes and theories.’”) (citations omitted).

        Plaintiffs’ claims here demand precisely the entanglement with differing educational

theories that courts wisely avoid. The core of the Complaint attacks the underlying quality of the

Literacy Materials. Plaintiffs allege that the Literacy Materials were inadequate because they “did

not include meaningful phonics instruction, the one thing essential to literacy success.” Comp.

¶ 3. To adjudicate that claim, the Court would necessarily need to determine the amount of phonics

that is “essential” to “literacy success.” Id.

        The Complaint demonstrates why this question cannot be resolved through the application

of legal standards. For example, it describes decades of debate over literacy instruction that has

taken place in academia (e.g. among faculty at Teachers College, id. at ¶ 32, and other universities,

id. at ¶ 44) and in the political sphere, id. at ¶ 26 (describing work by a National Reading Panel

convened by Congress to study and make determinations about early literacy education), 51

(describing the passage of state laws and regulations that require educators to adopt certain

approaches to reading instruction). Unlike academics, appointed experts, or elected officials, who

have resources and expertise that allow them to develop standards to study and make decisions

about education policy, courts are limited to applying strict legal standards that are ill-suited to

answering the sorts of pedagogical questions that resolution of Plaintiffs’ claims would require.

See Saroya v. Univ. of the Pac., 503 F. Supp. 3d 986, 996 (N.D. Cal. 2020) (noting that courts do

not resolve claims that would “require[s] judgments about pedagogical methods or the quality of

. . . classes, instructors, curriculum, textbooks, or learning aids”). 10



10
   Courts similarly decline to adjudicate claims addressing education-related conduct like
accreditation decisions. Ambrose, 252 F.3d at 497 (“Such a claim invites us to substitute our
judgment for that of professional educators regarding the College’s suitability for accreditation.”).

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       C.      Plaintiffs Cannot Establish Causation

       Courts have also dismissed similar education-quality based claims on the grounds that

“[f]actors such as the student’s attitude, motivation, temperament, past experience and home

environment may all play an essential and immeasurable role in learning,” such that it may be a

“practical impossibility” to prove the proximate cause of the “learning deficiency of the plaintiff

student.” Ross, 957 F.2d at 414 (quoting Donohue v. Copiague Union Free School Dist., 47

N.Y.2d 440 (1979)). Indeed, in a case much like this one, concerning literacy skills, the California

Court of Appeals affirmed dismissal and explained that “the achievement of literacy in the schools,

or its failure, are influenced by a host of factors which affect the pupil subjectively, from outside

the formal teaching process, and beyond the control of its ministers. They may be physical,

neurological, emotional, cultural, environmental; they may be present but not perceived,

recognized but not identified.” Peter W. v. San Francisco Unified Sch. Dist., 60 Cal. App. 3d 814,

824 (1976). The court concluded: “We find in this situation . . . no such perceptible ‘connection

between the defendant's conduct and the injury suffered,’ as alleged, which would establish a

causal link between them within the same meaning.” Id. at 825.

       Plaintiffs trespass exactly this ground: They allege that certain educational material caused

specific learning deficiencies that—under another educational theory or different education

materials—otherwise would not have occurred. See, e.g., Compl. ¶¶ 3–5. Indeed, the Complaint

strays even farther afield by suggesting a class definition that includes all Massachusetts students

who attended schools that purchased, licensed, or used the Literacy Materials—regardless of

whether any of the students actually received reading instruction using the Literacy Materials,

much less if they actually struggled to read. Id. at ¶ 69. Plaintiffs’ failure to allege causation with

respect to their class claims is illustrative of the insurmountable hurdles they face with respect to

their individual claims.


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        D.     Limited Educational Achievement Is Not A Legally Cognizable Injury

        Courts also conclude that “the failure of an educational achievement cannot be

characterized as an injury within the meaning of tort law.” Tort Liability of Private Schools and

Institutions of Higher Learning for Educational Malpractice, 18 A.L.R.7th Art. 7 (2017); Hunter

v. Bd. of Educ. of Montgomery Cnty., 292 Md. 481, 484 (1982) (“The ‘injury’ claimed here is

plaintiff’s inability to read and write. … We find in this situation … no reasonable ‘degree of

certainty that … plaintiff suffered injury’ within the meaning of the law of negligence.” (quoting

Peter W. v. San Francisco Unified Sch. Dist., 131 Cal. Rptr. 854, 861 (Ct. App. 1976))). Similarly,

this Court has elsewhere made clear that a plaintiff “may not attempt to calculate damages based

on an alleged subjective difference in quality between” two educational options. See In re Bos.

Univ. COVID-19 Refund Litig., No. 1:20-cv-10827-RGS, 2022 WL 3154670, at *4 (D. Mass. Aug.

8, 2022). 11

        Here, the Plaintiffs’ alleged injuries all connect to literacy achievement. Compl. ¶¶ 65–67

(describing struggles with literacy skills); 77 (“As a result, Plaintiffs and the Class Members

received deficient reading instruction.”); 86 (similar). But deficient literacy skills are not legally

cognizable injuries, see Hunter, 292 Md. at 484, nor may a court calculate damages based on a

subjective difference in quality between offerings, see Bos. Univ. COVID-19 Refund Litig., 2022

WL 3154670, at *4; Shaulis v. Nordstrom, Inc., 865 F.3d 1, 10 (1st Cir. 2017).




11
   While this principle has been framed in terms of tort and negligence in the case law, Chapter
93A claims likewise require alleging “injury[] as that term is defined by the SJC.” See Shaulis,
865 F.3d at 14. In particular, Plaintiffs must allege an “identifiable harm,” id. at 10, and this
identifiable harm may not be based on Plaintiffs’ “subjective belief as to the value received.” Id.
at 13.


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       E.      Plaintiffs Improperly Ask This Court To Police The Marketplace of Ideas

       Among the many reasons courts avoid cases that require them to wade into questions of

education policy is the risk that doing so will run afoul of the First Amendment and stifle academic

freedom by endorsing certain views over others. Plaintiffs ask the court to do precisely that. At

bottom, Plaintiffs would like the court to (1) penalize Defendants through multiple damages for

writing about and publishing ideas Plaintiffs disagree with and (2) order Defendants to furnish new

curricula that Plaintiffs do agree with. Compl. p. 23 (Prayer For Relief). This is improper.

       The First Amendment “creates an open marketplace where ideas … may compete without

government interference.” New York State Bd. of Elections v. Lopez Torres, 552 U.S. 196, 208

(2008). It “does not call on the federal courts to manage the market.” Id.; see also infra Section

V (citing cases in which courts refuse to extend products liability principles to ideas). Plaintiffs’

request is particularly troubling in the education context. As the Supreme Court explained decades

ago, “no field of education is so thoroughly comprehended by man that new discoveries cannot

yet be made.” Sweezy v. State of N.H. by Wyman, 354 U.S. 234, 250 (1957). Plaintiffs are entitled

to disagree with the methods or approaches used in the Literacy Materials, and they are certainly

free to argue the merits of their own approach in the court of public opinion—but their request that

this Court intervene in this ongoing academic debate and discredit a view they disagree with is

well out of bounds. Put simply, courts do not tell teachers what and how to teach.

II.    PLAINTIFFS FAIL TO MEET BASIC PLEADING STANDARDS, LET ALONE
       THE HEIGHTENED STANDARD OF RULE 9(b)

       Where a claim’s “core allegations effectively charge fraud,” the special pleading standard

of Federal Rule of Civil Procedure 9(b) applies. Mulder, 865 F.3d at 21–22. This includes Chapter

93A claims, see id., and claims involving negligent misrepresentations, see Solano v. Bos. Sci.

Corp., No. 1:23-cv-12366-JEK, 2024 WL 1675692, at *3 (D. Mass. Apr. 5, 2024). Because these



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claims effectively charge fraud, Plaintiffs’ pleading must meet the strictures of Rule 9(b). See

Compl. ¶¶ 1, 5, 76, 85; Martin v. Mead Johnson Nutrition Co., No. 1:09-cv-11609-NMG, 2010

WL 3928707, at *3 (D. Mass. Sept. 30, 2010) (“A claim under Chapter 93A that involves fraud is

subject to the heightened pleading requirement.”); Alternative Sys. Concepts, Inc. v. Synopsys, Inc.,

374 F.3d 23, 29 (1st Cir. 2004) (“[M]isrepresentation is considered a species of fraud.”).

       To meet the Rule 9(b) pleading standard, Plaintiffs must “allege with specificity the who,

what, where, and when of the allegedly false or fraudulent representation.” Solano, 2024 WL

1675692, at *3 (internal quotation marks and citation omitted). This same principle applies to

alleged inadequate warnings. Id. Plaintiffs’ allegations fall well short of satisfying Rule 9(b)’s

exacting requirements.

       The marketing statements that Plaintiffs identify as misleading are a handful of phrases

that unspecified Defendants used to “tout” their materials, including terms like “studies,” “data,”

“research-backed,” and “standards-based instruction.” Compl. ¶¶ 40, 43, 71. These allegations

do not include the necessary who, what, where, and when that Rule 9(b) requires. Plaintiffs’

shotgun pleading, for example, fails to identify which of the eight defendants actually made which

of the objectionable statements—let alone to whom such statements were made—entirely failing

to adequately plead the “who” that is required by Rule 9(b). See Ezell v. Lexington Ins. Co., 286

F. Supp. 3d 292, 300 (D. Mass. 2017) (“Although plaintiffs sufficiently allege that a

misrepresentation was made . . . they do not make clear which defendant made such a

misrepresentation.”).

       Rather than identifying the actual statements they object to, the context in which they were

made, or even full sentences, Plaintiffs offer only snippets of words. See Compl. ¶¶ 40, 43, 71

(“studies,” “data,” “research-backed,” and “standards-based instruction.”). Nor do they explain




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which of the specific Literacy Materials the alleged misstatements were related to or where the

statements were made. See Nizhoni Health Sys. LLC v. Netsmart Techs., Inc., No. 1:22-cv-11212-

DJC, 2023 WL 3657386, at *8 (D. Mass. May 25, 2023) (Plaintiff “fails to specify the statements

that it contends were false” by, for example “delineat[ing] which . . . functionalities [Defendant]

represented its software already included.”); Solano, 2024 WL 1675692, at *3 (dismissing

misrepresentation claim where plaintiff failed to “describe the form, content, or date of the

marketing”). On the “when,” aside from identifying a thirty-year period of alleged misconduct

beginning in the 1990s, Compl. ¶ 7, Plaintiffs have failed to identify a single “particular time[] [or]

date[]” of the alleged misrepresentations. Learning Express, Inc. v. Ray-Matt Enters., Inc., 74 F.

Supp. 2d 79, 85 (D. Mass. 1999); Solano, 2024 WL 1675692, at *3 (plaintiff failed to identify

“date of the marketing”). Absent such particulars, Rule 9(b) requires dismissal. See Solano, 2024

WL 1675692, at *3; Engren v. Johnson & Johnson, Inc., No. 1:21-10333-RGS, 2021 WL 4255296,

at *5 (dismissing complaint that was “devoid of facts describing ‘where’ and ‘when’ this ‘allegedly

false representation’ occurred”) (citation omitted).

       In addition to the allegedly false and misleading marketing terms discussed above, the

Complaint identifies a number of other statements from various Defendants and other individuals

unrelated to marketing, see Compl. ¶¶ 35 (books on educational theory); 36 (university post on

educational methods); 46 (discussion of an academic study); 49 (blog post on educational

methods); 50 (statement and memorandum on educational methods). None of these allegations

can support Plaintiffs’ misrepresentation claims as Plaintiffs do not allege that these statements

marketed or represented the challenged Literacy Materials in any way (e.g. by being included in

sales materials), much less that they were misleading or even could be misleading, see Cummings




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v. HPG Int’l, Inc., 244 F.3d 16, 21 (1st Cir. 2001) (in the context of a 93A misrepresentation claim

“only statements of fact are actionable; statements of opinion cannot give rise to a deceit action”).

III.     THE CHAPTER 93A CLAIM FAILS

         Even if this Court determined that Plaintiffs claims were justiciable and satisfied Rule 9(b),

their Chapter 93A claim still fails. A plaintiff seeking relief under Chapter 93A “must prove that

the defendant engaged in unfair or deceptive acts or practices in the conduct of any trade or

commerce” and that those acts caused a distinct injury. Mass. Gen. Laws ch. 93A § 9; Walsh v.

TelTech Sys., Inc., 821 F.3d 155, 160 (1st Cir. 2016) (internal citation omitted); see also Shaulis,

865 F.3d at 6. Plaintiffs’ unfair and deceptive conduct claims boil down to the following

allegations: Defendants marketed and sold defective Literacy Materials, did not provide adequate

warnings about those materials, and made false or misleading statements about them. See Compl.

¶ 76.     Through this conduct, Plaintiffs allege, “Defendants induced schools throughout

Massachusetts to buy their defective products, rather than those early-literacy products that provide

adequate and scientifically sound early-literacy instruction,” and “[a]s a result, Plaintiffs and the

Class Members received deficient reading instruction.” Id. at ¶ 77.

         These allegations fail to state a Chapter 93A claim for three reasons: (1) Plaintiffs cannot

establish the requisite commercial relationship with Defendants; (2) Defendants’ conduct was not

unfair; and (3) Defendants’ conduct was not deceptive.

         A.     Plaintiffs Cannot Establish The Requisite Commercial Relationship Because
                They Did Not Select Or Purchase The Literacy Materials

         Although contractual privity is not required to sustain a Chapter 93A claim, at least some

business, commercial, or transactional relationship between the parties is necessary. See Mass.

Gen. L. ch. 93A § 2(a) (governing acts or practices “in the conduct of any trade or commerce”);

Steinmetz v. Coyle & Caron, Inc., 862 F.3d 128, 141 (1st Cir. 2017); Courtemanche v. Motorola



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Solutions, Inc., 2024 WL 5111509, *2 (D. Mass. Dec. 13, 2024) (a “commercial link” must exist

between a plaintiff consumer and a defendant engaged in commerce). To state a claim, a plaintiff

must allege facts sufficient to establish a commercial relationship between the plaintiff and the

defendant. See Rafferty v. Merck & Co., 479 Mass. 141, 161 (2018) (rejecting Chapter 93A claim

where “although Chapter 93A does not require privity, it is limited to actions taken in the course

of trade or commerce”). Plaintiffs have not and cannot establish that relationship here.

       Plaintiffs complain that the public schools they attended did not properly teach them how

to read. True or not, the provision of public education does not amount to “trade or commerce”

within the meaning of Chapter 93A. See Squeri v. Mount Ida College, 954 F.3d 56, 73 (1st Cir.

2020) (Chapter 93A claims brought by students complaining about their education dismissed under

Rule 12(b)(6) because, among other things, the school was not engaged in “trade or commerce”

when providing education). As the First Circuit acknowledged in Squeri, the provision of

education to students by a non-profit school conducting activities “motivated by legislative

mandate” is not “trade or commerce” within the meaning of Chapter 93A. See id.; Moran v.

Stonehill College, Inc., No. 2077CV00431, 2021 WL 965754 at * 7 (Mass. Sup. Ct. Feb. 16, 2021)

(provision of non-profit education not “trade or commerce”); see also Planned Parenthood Fed’n

of Am. v. Problem Pregnancy of Worcester, Inc., 398 Mass. 480, 493–94 (1986) (non-profit pro-

life advocacy does not constitute “trade or commerce”).

       Much like the plaintiff in Squeri, Plaintiffs’ relationship with public schools is not a

commercial or business one within the meaning of Chapter 93A. And even if certain Defendants

had a direct or indirect relationship with schools that may have purchased the Literacy Materials,

Plaintiffs fail to allege any facts establishing any commercial, business, or transactional

relationship between Plaintiffs and Defendants. Defendants did not have any relationship with




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Plaintiffs, the schools did, and the schools did so in furtherance of (and as required by) their

statutory mandate to provide public education. 12 See Compl. ¶ 7.

        Plaintiffs’ only alleged connection to Defendants is through the public schools they

attended. Compl. ¶¶ 65–67. The fact that those schools are not actually engaged in “trade or

commerce” with Plaintiffs is dispositive of any claim against Defendants. If Plaintiffs are not in a

commercial relationship with the schools, and their only link to Defendants is through those

schools, then they cannot be in a commercial relationship with the Defendants. The mere fact that

Defendants authored or published the Literacy Materials, which were selected by the schools 13

when providing public education to Plaintiffs, is not sufficient to establish the necessary business

or transactional relationship between Plaintiffs and Defendants required to state a Chapter 93A

claim. 14

        B.     Defendants’ Conduct Was Not Unfair

        Under Chapter 93A, an act or practice is unfair if it (1) falls “within the penumbra of a

common-law, statutory, or other established concept of unfairness”; (2) is “immoral, unethical,

oppressive, or unscrupulous”; and (3) “causes substantial injury to consumers.” Tomasella v.

Nestlé USA, Inc., 962 F.3d 60, 79 (1st Cir. 2020). The “conduct must generally be of an egregious,


12
   As discussed in Section II, supra, Plaintiffs’ Complaint fails to delineate the purported acts of
specific Defendants, including neglecting to identify which Defendant(s) allegedly sold the subject
Literacy Materials to the Plaintiffs’ schools or school districts, or otherwise had a commercial
relationship. See Compl. ¶¶ 5, 16, 17.
13
  That local school officials approved use of the Literacy Materials, which they did pursuant to
their statutory authority, see Mass. Gen. Laws. ch. 71 § 48, also makes liability under Chapter 93A
unavailable. Mass. Gen. Laws. ch. 93A § 3.
14
   The lack of a commercial relationship between Plaintiffs and Defendants underscores the
fundamental problem discussed in Section I, supra. Plaintiffs’ pedagogical dispute involves ideas
about how to educate children. There is no legal authority that supports exposing an author or
publisher of a book that is selected and used by a teacher in a public education setting to liability
under any law, let alone under a consumer protection statute such as Chapter 93A.


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non-negligent nature.” Tomasella., 364 F. Supp. 3d 26, at 32. Although the question of unfairness

is a factual inquiry, “the boundaries of what may qualify for consideration as a c. 93A violation is

a question of law.” Milliken & Co. v. Duro Textiles, LLC, 451 Mass. 547, 563 (2008) (citation

omitted).

       As an initial matter, Plaintiffs have not pointed to any common-law, statutory, or other

established concept of unfairness into which the conduct at issue falls. For example, Plaintiffs do

not allege that there is any common-law, statutory, or other established standard that defines proper

literacy instruction in Massachusetts. See supra Section I.D (no applicable standard of care in the

education context).

       Plaintiffs also cannot establish that Defendants engaged in the type of “immoral” or

“unethical” conduct required to state a claim under Chapter 93A. Plaintiffs do not allege that

Defendants believed the Literacy Materials were defective but nonetheless maliciously sold them

to schools in order to harm students. To the contrary, the Complaint concedes that the Literacy

Materials do include phonics, see, e.g., Compl. ¶ 37 (e.g. by offering phonics-based instruction),

and that they were revised at points to include even more. Id. at ¶ 53 (“In 2021, Heinemann

released a new edition of Units of Study that it described as ‘build[ing] upon the foundational work

of the original materials with an increased focus on systematic phonics instruction, inclusive

content, and ease of use.’”).

       At most, Plaintiffs allege that Defendants’ focus on phonics is not sufficiently structured,

that the amount of phonics is not enough, or that revisions to the materials came too late. Id. at

¶¶ 30, 34, 47, 52. This falls far short of the sort of “unethical” or “immoral” conduct that would

violate Chapter 93A’s unfairness prong. See, e.g., Ellis v. Safety Ins. Co., 41 Mass. App. Ct. 630,

640 (1996) (racial harassment in the course of doing business); Wang Labs., Inc. v. Business




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Incentives, Inc., 398 Mass. 854, 857 (1986) (deliberate breach of a contract for a party’s gain);

Diamond Crystal Brands, Inc. v. Backleaf, LLC, 60 Mass. App. Ct. 502, 507 (2004) (coercive

conduct designed to extort a benefit or advantage from a business or bargaining opponent).

        Plaintiffs’ Chapter 93A claim also fails because they cannot establish causation.

Tomasella, 962 F.3d at 79. Plaintiffs’ causal allegations, to the extent there are any, are devoid of

specifics and entirely conclusory. For example, the Complaint alleges:

   •    S.C. and K.C. “were exposed” to the Literacy Materials and “[a]s a result” “have suffered
        a variety of developmental, emotional, and financial injuries.” Compl. ¶ 16; see also
        Compl. ¶ 17 (similar for R.H.).

   •    Because the Literacy Materials “do not contain the building blocks for teaching effective
        early-childhood literacy,” “countless children in the Commonwealth, have suffered
        devastating setbacks in their educational development.” Compl. ¶ 59.

   •    S.C. “was taught” using UoS and “received ineffective assistance” through LLI “resulting
        in her reading delays going unnoticed for years.” Compl. ¶ 65.

   •    K.C. “was exposed” to UoS and LLI from kindergarten through second grade, which led
        to her parents “detect[ing]” that she “appeared not to be developing the necessary and
        appropriate literacy decoding skills.” Compl. ¶ 66.

   •    R.H. “was taught” using UoS and LLI, and received “defective assessments” through BAS,
        which “suggested that he ‘read’ at grade level” even though it “become apparent” that he
        “was far behind many of his peers.” Compl. ¶ 67.

   •    Plaintiffs “received early-literacy instruction using Defendants’ defective early-literacy
        products” and “suffered from literacy deficiencies as a result.” Compl. ¶ 72.

   •     Defendants “induced schools” in Massachusetts to choose the Literacy Materials rather
        than Plaintiffs’ preferred phonics-dominant literacy curricula, and “[a]s a result, Plaintiffs
        and Class Members received deficient reading instruction.” Compl. ¶ 77.

Even accepting these allegations as true, they are wholly insufficient to plead causation.

        First, as Plaintiffs’ sources confirm and as described above, there are many facets to

teaching literacy, many reasons why a student may struggle with learning to read, and school

districts employ many different curricula, materials, and strategies to teach reading. See supra




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Section I.C (collecting cases regarding impossibility of attributing lack of achievement to any one

causal factor).

       Second, Plaintiffs cast phonics as a one-size-fits-all solution, yet their own cited sources

acknowledge that using their preferred approach would not necessarily be better for all learners.

Ex. C at 6 (“Teachers may be expected to use a particular program in their classroom but may find

that it suits some students better than others.”); see also Hershenow v. Enterprise Rent–A–Car Co.

of Boston, Inc., 445 Mass. 790, 800–01 (2006) (rejecting a Chapter 93A claim where plaintiffs

failed to establish “any causal connection between the deception and any loss”). If using a non-

phonics dominant approach to teach reading is deemed to “cause” injury to children whose

individual learning style would benefit more from a phonics-dominant one, then the reverse would

also be true and educators who follow a phonics-dominant approach would be equally liable for

“causing” injury to students whose learning style is not suited to it.

       Third, the Literacy Materials are purchased by school districts, which integrate them with

other products to create a full curriculum. Compl. ¶ 7. The Complaint contains no allegations

about the extent to which the Literacy Materials were actually used to teach the Plaintiffs, or what

other literacy materials were incorporated into the subject curricula, and thus contains no

allegations that could support the inference that the Literacy Materials were a but-for cause of the

alleged harm. Where, as here, schools combine materials to create a full curriculum, to the extent

the Court views ideas as “products” (which it should not), “it would be unjust and inefficient to

impose liability” on the creator of one of those materials if, ultimately, it is the combined set of

materials that may not work for a particular student. See Nemirovsky v. Daikin N. Am. Inc., 488

Mass. 712, 718 (2021) (“a component manufacturer may be liable if the component itself was




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defective and the component’s defect caused the harm,” but the maker “of a nondefective

component is not liable for harms caused by the integrated product”).

       Finally, the harms alleged are inseparable from the individual Plaintiffs’ needs, their

instruction, and the environment in which Plaintiffs were taught. Thus, Plaintiffs’ allegations with

respect to Defendants’ supposed advertising and promotional conduct are far too attenuated, and

not explicitly tied to, their own individual struggles with learning to read. See Walsh v. Teltech

Sys., Inc., 821 F.3d 155, 164 (1st Cir. 2016) (proximate cause requirement not satisfied “absent

any connection between [non-parties’ allegedly wrongful] actions and [defendant’]s promotional

material” purportedly encouraging those actions).

       C.      Defendants’ Conduct Was Not Deceptive

       Plaintiffs also fail to allege that Defendants committed deceptive acts under Chapter 93A.

To do so Plaintiffs must allege (1) “a deceptive act or practice on the part of” Defendants; 15 (2)

“an injury or loss suffered”; and (3) “a causal connection between the [Defendant]’s deceptive act

or practice and [Plaintiffs’] injury.” Tomasella, 962 F.3d at 71.

       As explained above, Plaintiffs allege that Defendants made false or misleading statements

about the Literacy Materials that purportedly resulted in “Plaintiffs and the Class Members

receiv[ing] deficient reading instruction.” Compl. ¶¶ 76‒77. Specifically, they allege that at some

unknown time and in some unknown context, Defendants stated that the Literacy Materials were

(1) supported by “studies” and “data”; (2) “‘research-backed,’ based on ‘intensive research,

testing, and experience’”; (3) provided ‘data-based’ and ‘standards-based instruction’”; and (4)



15
  An act or practice is deceptive if “it has the capacity to mislead consumers, acting reasonably
under the circumstances, to act differently from the way they otherwise would have acted (i.e., to
entice a reasonable consumer to purchase the product).” Dumont v. Reily Foods Co., 934 F.3d 35,
40 (1st Cir. 2019); Crommelin v. Takeda Pharmaceuticals U.S.A., Inc., No. 1:24-cv-10552-RGS,
2024 WL 4045730, * 2 (D. Mass., Sep. 4, 2024)


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“based on ‘volume[s] of research’ and a ‘gold-standard’ study that prove the ‘efficacy and value’

of their approach.” Compl. ¶ 40 (alteration in Complaint). These allegations fail to state a claim

for deceptive conduct for several reasons.

       First, Plaintiffs’ deception allegations do not survive Rule 9(b)’s particularity

requirements. Supra Section II.

       Second, even if Plaintiffs had met the heightened Rule 9(b) pleading standard, they

acknowledge that research does support the methods in the Literacy Materials, see Compl. ¶ 41;

see also, e.g., Ex. 5 (Student Achievement Partners report) at 14 (“The [UoS] program follows an

approach to phonics instruction informed by developmental spelling, an extensive trove of research

that has shown how students come to understand the relationship between sounds, letters, and

words as reflected in their writing.”). 16 Moreover, statements like “gold standard” and “efficacy

and value,” Compl. ¶ 71, are non-actionable statements of opinion for which courts consistently

dismiss misrepresentation claims. See, e.g., Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1068

(9th Cir. 2001) (representation that consumers “would be safely and adequately served” failed to

state a claim because it was “devoid of any meaningful specificity”); In re Ford Motor Co. Sec.

Litig., 381 F.3d 563, 570‒572 (6th Cir. 2004) (statements about “quality [and] safety” were non-

actionable opinions).

       Third, Plaintiffs have not alleged, nor could they, that they were “entice[d] . . . to purchase”

the Literacy Materials, and would not have done so, or would have acted differently in some way,




16
   Plaintiffs’ own subjective view that “these studies suffer from glaring methodological,
theoretical, and other flaws that wholly undermine that conclusion,” Compl. ¶ 47, does not render
Defendants’ statements misleading, incomplete, or inadequate, and is far from sufficient to support
a claim. Shaulis,865 F.3d at 12 (“[A] plaintiff's bare assertion that a product is deficient in some
way is conclusory and can be subjective and thus does not suffice to state a viable claim.”); cf.
Duclersaint, 427 Mass. at 814; Graf, 2015 WL 4731526, at *18.


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had they known about any purported defect. See Dumont, 934 F.3d at 40, Crommelin v. Takeda

Pharmaceuticals U.S.A., Inc., No. 1:24-cv-10552-RGS, 2024 WL 4045730, * 2 (D. Mass. Sept. 4,

2024). They did not buy the Literacy Materials and had no role in selecting the reading curricula

that their schools purchased or chose to use.

       Fourth, for the reasons explained supra at Section I.C and Section III.B, Plaintiffs have

failed to plead that any alleged deceptive act caused their alleged injury. See Tomasella, 962 F.3d

at 71. Indeed, Plaintiffs have not alleged that any of them ever even saw or heard any of the

allegedly deceptive statements—let alone relied or acted on them to their detriment.

IV.    PLAINTIFFS’ NEGLIGENCE CLAIM FAILS

       Count II of Plaintiffs’ Complaint ambiguously asserts either a negligence claim or a

negligent misrepresentation claim. Compl. ¶ 86 (alleging Defendants engaged in both “negligence

and negligent misrepresentations”). 17 However they are framed, the allegations fail to state any

negligence-based claim.

       A.      There Cannot Be Negligent Misrepresentation Where There Is No Reliance

       The negligent misrepresentation claim fails because Plaintiffs do not allege that they are

among the limited group of persons who are eligible to recover for the alleged misrepresentations.

Plaintiffs acknowledge that the allegedly negligent marketing was directed to “induce[] schools

and school districts” to purchase the Literacy Materials. Compl. ¶ 86. But Massachusetts law

limits liability for negligent misrepresentation to a “loss suffered (a) by the person or one of a

limited group of persons for whose benefit and guidance [the Defendant] intends to supply the

information or knows that the recipient intends to supply it; and (b) through reliance upon it in a


17
  Where, as here, the challenged conduct relates to a statement or representation, courts analyze
the claim as one for negligent misrepresentation. Craig v. Everett M. Brooks Co., 351 Mass. 497,
499 (1967) (“Although count 2 does not use the word ‘misrepresentation,’ … [s]uch acts are a
form of representation.”).


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transaction that [the Defendant] intends the information to influence or knows that the recipient so

intends or in a substantially similar transaction.” Nycal Corp. v. KPMG Peat Marwick LLP, 426

Mass. 491, 496 (1998) (quoting and adopting Restatement (Second) of Torts § 552). As the

allegedly negligent marketing was directed to the schools and not the students, Plaintiffs are not

among the “limited group of persons for whose benefit and guidance [Defendants] intend[ed] to

supply the information or kn[ew] that the recipient intend[ed] to supply it,” nor did Plaintiffs

allegedly suffer loss “through reliance on [the information] in a transaction that [Defendants]

intend[ed] the information to influence or kn[ew] that the recipient so intends or in a substantially

similar transaction.” Nycal, 426 Mass. at 496. For the same reason, Plaintiffs cannot allege that

they suffered loss “by their justifiable reliance on the information,” because they do not allege that

they relied on the alleged misrepresentations at all. See Gossels v. Fleet Nat. Bank, 453 Mass. 366,

371‒72, 377 (2009) (reliance is an element of negligent misrepresentation).

       In addition, Plaintiffs have not plausibly alleged that Defendants’ representations were

false or misleading, supra Section III.C, or that those representations caused a cognizable injury,

supra Section I.D; 18 Gossels, 453 Mass. at 371‒72 (listing other elements of negligent

misrepresentation, including falsity, causation, and injury).

       B.      Any Negligence Claim Is Barred By The Economic Loss Doctrine And
               Otherwise Fails

       Even if construed as plain negligence, Plaintiffs’ claim also fails.




18
   They likewise fail to plausibly allege that changes in marketing would have affected school
administrators’ or teachers’ willingness to purchase and use a substantially similar curriculum. To
the contrary, as described, many administrators and teachers held strong views on appropriate
literacy instruction rooted in the wider “reading wars,” supra Background Section , and Plaintiffs
do not plausibly allege that Defendants’ representations—rather than these underlying views—
caused schools to adopt curricula that (in Plaintiffs’ view) de-emphasized phonics.


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       First, a standalone negligence claim is barred by the economic loss doctrine which “bars

recovery unless the plaintiffs can establish that the injuries they suffered due to the defendants’

negligence involved physical harm or property damage, and not solely economic loss.” Cumis Ins.

Soc’y, Inc. v. BJ’s Wholesale Club, Inc., 455 Mass. 458, 469 (2009). Plaintiffs do not allege

physical harm or property damage. While Plaintiffs do allege certain non-economic injuries, e.g.,

Compl. ¶ 16 (referring to “developmental” and “emotional” injuries), these allegations cannot

overcome the economic loss doctrine. Lack of educational achievement is not a cognizable injury

under tort law, see supra, Section I.D, and           a plaintiff cannot recover for emotional or

psychological injuries in tort unless there is a physical manifestation, Payton v. Abbott Labs, 386

Mass. 540, 547 (1982) (“Where a defendant was only negligent, his fault is not so great as to

require him to compensate the plaintiff for a purely mental disturbance.”). The Complaint includes

no allegations related to physical manifestations of injury. Finally, emotional injury is “intractably

individual in character,” and so cannot satisfy the typicality requirement for class treatment. Com.

of Puerto Rico v. M/V Emily S., 158 F.R.D. 9, 14 (D.P.R. 1994). Because Plaintiffs seek to pursue

this claim on a class-wide basis, the only relief available to the class would be economic damages,

which cannot be recovered on an ordinary negligence claim under the economic loss doctrine.

       Second, Plaintiffs have not plausibly pleaded the necessary substantive elements—breach

and causation—of a negligence claim. See Doucette v. Jacobs, 106 F.4th 156, 175 (1st Cir. 2024)

(breach and causation are essential elements of a negligence claim). Plaintiffs have not plausibly

alleged a breach of any duty because none of Defendants’ alleged representations were false or

misleading, supra Section III.C, and there is no applicable standard of care by which to judge a

breach, supra Section I.C. Plaintiffs similarly have not plausibly alleged that Defendants caused

a cognizable injury, supra, Section I.D.




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V.     PLAINTIFFS SEEK TO IMPROPERLY EXTEND PRODUCTS LIABILITY LAW
       TO THE MARKETPLACE OF IDEAS

       Massachusetts does not extend product liability law to ideas, methods, and instructions

contained in books. See Garcia v. Kusan, Inc., 39 Mass. App. Ct. 322, 327–29 (1995) (no warranty

or negligence liability for instructions). Yet that is precisely what Plaintiffs hope to do here.

Although Plaintiffs label their claims under Chapter 93A and negligence, the actual contents of

the Complaint reveal that Plaintiffs are attempting to improperly advance products liability claims

under different names. The first paragraph of the Complaint describes this as a lawsuit based on

“marketing and sale of products.” Compl. ¶ 1. Plaintiffs then allege that “Defendants failed to

warn…[about defects] in their alleged literacy training products.” Id. at ¶ 3. They refer to the

teaching materials they find objectionable as “defective goods” and “defective early-literacy

products.” Id. at ¶¶ 5, 6. And the Complaint alleges that “Defendants did not disclose the flaws

in their products,” and sold “defective products to schools and teachers.” Id. at ¶¶ 49, 58.

Plaintiffs’ Chapter 93A claim boils down to the allegation that Defendants engaged in unfair and

deceptive practices arising from “sale of defective and deficient reading curricula, reading

diagnostic tests, and teacher-training programs,” “[f]ailing to provide adequate or complete

disclosures and warnings regarding deficient reading curricula and other training and reading

products,” and “[d]isseminating false, misleading, incomplete, and/or inadequate statements,

instructions, training materials, and marketing materials regarding their reading and training

products.” Id. at ¶ 76. Plaintiffs’ negligence claim is similarly based on Defendants allegedly

“breach[ing] their duties to exercise reasonable care or competence by falsely and deceptively

marketing their products.” Id. at ¶ 84.

       Plaintiffs’ reluctance to bring their clams under a products liability theory is

understandable, as courts have correctly held that the product-liability-based theory of injury



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advanced by the Complaint should not be extended to books and ideas, which are protected by the

First Amendment. See Restatement (Second) of Torts, Products Liability, § 19, cmt. d. (“Most

courts, expressing concern that imposing strict liability for the dissemination of false and defective

information would significantly impinge on free speech have, appropriately, refused to impose

strict products liability in these cases”); Winter v. G.P. Putnam’s Sons, 938 F.2d 1033, 1036 (9th

Cir. 1991) (“[W]e decline to expand products liability law to embrace the ideas and expressions in

a book. We know of no court that has chosen the path to which the plaintiffs point.”); Walter v.

Bauer, 439 N.Y.S.2d 821, 822–23 (NY App. Div. 1981) (rejecting argument that a science book

describing an experiment which led to a classroom injury could be considered a “defective

product”).

       Massachusetts courts have expressly rejected the application of products liability law to

speech, explaining that products liability is “geared to the tangible world and is unsuited to words

and ideas.” Garcia, 39 Mass. App. Ct. at 327. For example, in Garcia a father whose son was

injured by a plastic hockey stick and puck asserted that the defendant made misrepresentations

about the game’s safety in the game’s instructional materials to “induce elementary schools” to

buy the game. Id. at 322–324. The Appeals Court rejected plaintiff’s attempt to extend product

liability concepts to the defendant’s instructions for the game. See id. at 327–328. Rather, it was

the hockey stick and puck—the tangible items—from which products liability could arise. See id.

at 328–329.

       The Southern District of New York reached the same conclusion in Gorran v. Atkins

Nutritionals, Inc., 464 F. Supp. 2d 315, 318, 323 (S.D.N.Y. 2006). In Gorran, the plaintiff brought

product liability claims against defendants (a nutrition company and creator of the “Atkins Diet”)

strikingly similar to the claims Plaintiffs bring here—“(a) products liability, (b) negligent




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misrepresentation, and (c) deceptive conduct in violation of [the Florida Unfair Trade Practices

Act].” Gorran, 464 F. Supp. 2d at 323. According to the Gorran plaintiff, the defendants’ books

and diet “advice” were “defective and unreasonably dangerous.” See id. at 318. The Gorran court

refused to extend products liability law to the ideas expressed in the defendants’ books—even if

those ideas are “controversial and subject [to] criticism.” See id. at 319, 327.

       Here, the Defendants did not manufacture and sell a defective hockey stick or puck, or any

other tangible product.     Rather, the individual author defendants wrote, and the publisher

defendants published, about their ideas on how to teach reading. See Compl. ¶¶ 31–33. Plaintiffs

may disagree with their ideas, but that is not a permissible basis for imposing civil liability under

Massachusetts law.

VI.    PLAINTIFFS CANNOT ESTABLISH A CLASS

       To the extent Plaintiffs’ claims are not dismissed in their entirety, Defendants move to

dismiss, or alternatively to strike, Plaintiffs’ class allegations because the proposed class cannot

be maintained as a matter of law. 19 Fed. R. Civ. P. 23(b)(3) demands that “questions of law or fact

common to class members predominate over any questions affecting only individual members”

and that “a class action is superior to other available methods for fairly and efficiently adjudicating

the controversy.” See Compl. ¶ 74 (alleging that predominance is satisfied). It is obvious from

the Complaint that Plaintiffs cannot satisfy these requirements. Individual questions predominate

with respect to: (1) identification of uninjured plaintiffs included in the enormous putative class;




19
   If “‘it is obvious from the pleadings that the proceeding cannot possibly move forward on a
classwide basis, district courts use their authority under Federal Rule of Civil Procedure 12(f) to
delete the complaint’s class allegations.’” Rovinelli v. Trans World Ent. Corp., No. 3:19-cv-
11304-DPW, 2021 WL 752822, at *6 (D. Mass. Feb. 2, 2021) (quoting Manning v. Bos. Med. Ctr.
Corp., 725 F.3d 34, 59 (1st Cir. 2013)).


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(2) determinations of causation; and (3) assessment of whether Defendants’ conduct can be

sufficiently linked to the class members’ alleged injuries.

       A.      The Putative Class Includes Too Many Uninjured Members

       “It is well-established that members of a plaintiff class must all have the legal right to bring

suit against the defendant on their own; inclusion of those without such standing renders the class

overbroad.” In re TJX Cos. Retail Sec. Breach Litig., 246 F.R.D. 389, 393 n.2 (D. Mass. 2007);

see In re Asacol Antitrust Litigation, 907 F.3d 42, 53–54 (1st Cir. 2018) (denying certification

where “[t]he need to identify those [uninjured] individuals will predominate and render an

adjudication unmanageable”). Classes containing more than a de minimis number of uninjured

members or that require inquiries into individualized facts to determine whether any injury exists

are not appropriate for class treatment. 20

       Plaintiffs’ class definition includes huge numbers of uninjured members. They seek to

represent a class of all “children and parents and/or legal guardians of children currently or

previously enrolled in kindergarten, first, second, or third grade in a Massachusetts elementary

school that purchased, licensed, reproduced, or otherwise employed” the Literacy Materials.

Compl. ¶ 69. Determining which members of the putative class actually struggled with learning

to read will require mini-trials that render the claims unfit for class treatment. Bais Yaakov of



20
   See, e.g., In re Asacol Antitrust Litigation, 907 F.3d at 53-54; (“[T]his is a case in which any
class member may be uninjured, and there are apparently thousands who in fact suffered no
injury.”); Loughlin v. Vi-Jon, LLC, 728 F. Supp. 3d 163, 180 (D. Mass 2024) (denying motion to
certify class in part because “it is foreseeable that defendants will be able to raise ‘plausible
individual challenges’ concerning whether many of the thousands of putative class members have
suffered an injury,” and that “the required individualized process of identifying and excluding
uninjured class members would predominate over questions of fact and law common to the
proposed class”); Rovinelli, 2021 WL 752822, at *2 (finding that “no conceivable amendment to
the Complaint could overcome, on behalf of the class as a whole, the hurdle created by the need
for particularized details regarding each putative member’s experience”).



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Spring Valley v. ACT, Inc., 12 F.4th 81, 92 (1st Cir. 2021) (declining certification on predominance

grounds because court would be required to “identify and cull out” non-injured parties). 21

          B.     Proving Causation Would Require Extensive Individualized Inquiry

          Even if Plaintiffs could feasibly identify and limit their proposed class to individuals who

have suffered an actual injury, determining whether Defendants caused the alleged injury of each

putative class member would require individualized inquiry that likewise precludes class

treatment. See In re TJX Cos. Retail Sec. Breach Litig., 246 F.R.D. at 398; see also Wortman v.

Logmein, Inc., No. 1:18-cv-11475-GAO, 2022 WL 3714620, at *1-2 (D. Mass. Aug. 29, 2022).

“What matters to class certification is not the raising of common ‘questions’—even in droves—

but, rather the capacity of a class-wide proceeding to generate common answers apt to drive the

resolution of the litigation. Dissimilarities within a proposed class are what have the potential to

impede the generation of common answers.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350

(2011).

          As described above, isolating the cause of any given student’s failure to achieve

educational benchmarks is effectively impossible. Supra Section I.C; Ross, 957 F.2d at 414

(“Factors such as the student's attitude, motivation, temperament, past experience and home

environment may all play an essential and immeasurable role in learning,” and thus “it may be a

“practical impossibility [to] prov[e] that alleged [failures by the teacher] proximately caused the

learning deficiency of the plaintiff student.”). As Plaintiffs’ own sources state, “in the early grades,

children are known to vary greatly in the skills they bring to school,” and “there will be some


21
  Redefining the proposed class would be futile; as any alternative definition would lead to issues
of ascertainability. Douglas v. EF Inst. for Cultural Exch., Inc., No. 1:20-cv-11740-DJC, 2024
WL 3070251, at *7 (D. Mass. 2024) (“Not every class member must be identified, but the class
must be sufficiently ascertainable to permit a court to ‘decide and declare who will receive notice,
who will share in any recovery, and who will be bound by the judgment.’” (quoting Crosby v. Soc.
Sec. Admin. of the U.S., 796 F.2d 576, 580 (1st Cir. 1986)).


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children who already know most letter-sound correspondences, some children who can even

decode words, and others who have little or no letter knowledge.” Ex. C at 6. At a classwide

level, the challenge of sorting through the variability of educational outcomes, and the different

potential causes that contribute to them, only multiply.

       Dissimilarities abound within Plaintiffs’ putative class. As discussed, supra Section VI.A,

were class treatment allowed, the case would immediately be mired in “multiple law-suits

separately tried” to assess each Plaintiff’s history of instruction, whether and to what extent they

struggled with reading, and whether and to what extent that struggle could plausibly be attributed

to use of the Literacy Materials. These are the exact sort of inefficiencies that make class treatment

inappropriate. In re Asacol Antitrust Litigation, 907 F.3d 42, 58 (1st Cir. 2018) (reversing class

certification where individual inquiries predominated related to whether particular class members

were injured by the defendant).

       C.      Plaintiffs’ Negligent Misrepresentation And Chapter 93A Claims Cannot Be
               Resolved On A Classwide Basis

       As set forth in Sections III.C and IV.A, supra, Plaintiffs’ Complaint includes nondescript

allegations that Defendants’ negligent misrepresentations and deceptive conduct induced various

school districts to purchase and integrate the Literacy Materials into their literacy curricula. Even

if Plaintiffs’ individual claims on this basis were viable—which they are not—they are unfit for

class treatment because “proving reliance” on misrepresentations under common law negligence,

or showing a causal connection between deceptive or unfair conduct as well as a distinct injury

under Chapter 93A, “requires individualized factual determinations.” Mowbray v. Waste Mgmt.

Holdings, Inc., 189 F.R.D. 194, 199 (D. Mass. 1999) (denying class certification of sub-group

alleging reliance an implied warranty) aff’d, 208 F.3d 288 (1st Cir. 2000); O’Hara v. Diageo-

Guinness, No. CV 1:15-cv-14139-MLW, 2021 WL 11749765, at *1 (D. Mass. Mar. 17, 2021)



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(denying certification of “negligent misrepresentation claims because reliance is an element of

such claims under Massachusetts law and, therefore, they are not amenable to be resolved in a

class action.”); In re TJX Cos. Retail Sec. Breach Litig., 246 F.R.D. at 395–397 (declining to certify

a class on plaintiff’s negligent misrepresentation claims due to the individual inquiries necessary

to prove reasonable reliance); Loughlin, 728 F. Supp. 3d at 180, 184 (denying class certification

of Chapter 93A claims where essential elements of claims were subject to individual challenges). 22

VII.    INDIVIDUAL DEFENDANTS SHOULD BE DISMISSED

        Finally, though the claims against all Defendants should be dismissed for the reasons

described above, certain defendants have the following additional grounds for dismissal of

Plaintiffs’ claims as to them specifically.

        A.      HMH Should Be Dismissed Because Plaintiffs Have Not Stated Any Claim As
                To It

        To the extent that the Court finds that Plaintiffs have stated a claim at all, the claims against

HMH must still be dismissed because Plaintiffs have not alleged any facts about any conduct by

HMH. Indeed, the only allegation about HMH is that it “is a Massachusetts corporation with its

principal place of business at 125 High Street, Boston, MA 02110.” Compl. ¶ 13. Plaintiffs do

not allege HMH created, marketed, or sold any of the Literacy Materials, or that HMH made any

alleged misstatements regarding the Literacy Materials. In fact, as the Complaint makes clear,

Heinemann, not HMH, publishes and markets the Literacy Materials. See, e.g., Compl. ¶¶ 14, 34.

Without more, the mere fact that Heinemann is a subsidiary of HMH, id., is insufficient to hold

HMH liable for any alleged Heinemann conduct. See, e.g., Speakman v. Allmerica Fin. Life Ins.,


22
  In addition to the reasons set forth above, Plaintiffs cannot establish their proposed class because
no named plaintiff here is a “parent[] and/or legal guardian,” Compl. ¶ 69, and thus there is no
basis to find that any named Plaintiff would be representative of those proposed class members.
Relatedly, Plaintiffs have not defined parents or guardians in a way that would limit those with a
cause of action to those who have some control over the education that their child or ward receives.


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367 F. Supp. 2d 122, 142 (D. Mass. 2005) (“[A] corporation’s parents, subsidiaries, and other

affiliates are not liable for the actions of the corporation under Chapter 93A unless they played an

active role in the alleged wrongful conduct.”); Omni-Wave Elecs. Corp. v. Marshall Indus., 127

F.R.D. 644, 650 (D. Mass. 1989) (denying motion to amend to add parent corporation because

“the plaintiff must delineate the factual basis for holding [related companies] independently liable

under Chapter 93A”); Whitman & Co., Inc. v. Longview Partners (Guernsey) Ltd., No. 1:14-cv-

12047-ADB, 2015 WL 4467064, at *10 (D. Mass. July 20, 2015) (granting motion to dismiss in

part because plaintiff’s conclusory allegations that “each of the [d]efendants engaged in unfair or

deceptive act practices fail[ed] to state a plausible claim” against a parent company when the

complaint only included factual allegations about the subsidiary’s conduct).

       B.      F&P, LLC and Mossflower Should Be Dismissed Because Plaintiffs Have Not
               Stated Any Claim As To Them

       If the Court finds that Plaintiffs have stated claims, which it should not, the Court should

dismiss the claims against F&P, LLC and Mossflower because Plaintiffs have not alleged any

material facts concerning F&P, LLC and Mossflower. In fact, the only allegation about F&P, LLC

is that it “is an Ohio limited liability company with its principal place of business in Columbus,

Ohio.” Compl. ¶ 12. The only allegation about Mossflower is that it is a Connecticut limited

liability corporation that “is affiliated with” Ms. Calkins. Compl. ¶ 9. Plaintiffs do not allege that

F&P, LLC and Mossflower created, marketed, or sold any of the Literacy Materials, or that F&P,

LLC and Mossflower made any alleged misstatements regarding the Literacy Materials. Plaintiffs,

therefore, have not stated a claim against F&P, LLC or Mossflower. See Canales v. Gatzunis, 979

F. Supp. 2d 164, 170 (D. Mass. 2013) (quoting Bagheri v. Galligan, 160 F. Appx. 4, 5 (1st Cir.

2005)) (“In order to satisfy the minimal requirements of notice pleading, a plaintiff cannot ‘lump’




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multiple defendants together and must ‘state clearly which defendant or defendants committed

each of the alleged wrongful acts.’”).

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss all claims with prejudice.




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Dated: February 6, 2025                 Respectfully submitted,

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                               LOCAL RULE 7.1 CERTIFICATION

          I, Felicia H. Ellsworth, certify that on February 5, 2025, the parties conferred in good faith

to resolve or narrow the issue presented by this motion and were unable to resolve or narrow the

issues.

                                                  /s/ Felicia H. Ellsworth
                                                  Felicia H. Ellsworth



                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 6th day of February, 2025, I caused this document to be filed

through the CM/ECF system, where it will be sent electronically to the registered participants as

identified on the Notice of Electronic Filing.



                                                        /s/ Felicia H. Ellsworth
                                                        Felicia H. Ellsworth
